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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 JOSEPH MICHAEL DEVON ENGEL,                    )
                                                )
                Plaintiff,                      )
                                                )
          v.                                    )         No. 4:20-cv-01917 SRC
                                                )
 CCA, et al.,                                   )
                                                )
                Defendants.                     )

                                  Memorandum and Order

       This matter is before the Court on [7] Plaintiff Joseph Engel’s motion to proceed in forma

pauperis on appeal. When the Court dismissed this action, it certified in writing that an appeal

would not be taken in good faith. Accordingly, the Court denies [7] Engel’s motion to proceed in

forma pauperis on appeal. See 28 U.S.C. § 1915(a)(3).

       So Ordered this 12th day of May 2021.




                                                STEPHEN R. CLARK
                                                UNITED STATES DISTRICT JUDGE
